                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

FTX TRADING LTD., et al., 1                                      Case No. 22-11068 (JTD)

         Debtors.                                                (Jointly Administered)


ALAMEDA RESEARCH LTD. and FTX
TRADING LTD.,

                                    Plaintiffs,

                        - against -
                                                                 Adv. Pro. No. 23-50444 (JTD)
PLATFORM LIFE SCIENCES INC., LUMEN
BIOSCIENCE, INC., GREENLIGHT
BIOSCIENCES HOLDINGS, PBC,
RIBOSCIENCE LLC, GENETIC NETWORKS
LLC, 4J THERAPEUTICS INC., LATONA
BIOSCIENCES GROUP, FTX FOUNDATION,
SAMUEL BANKMAN-FRIED, ROSS
RHEINGANS-YOO, and NICHOLAS
BECKSTEAD,                                                       Adv. Ref. Nos. 1, 15 & 28

                                    Defendants.


                                    CERTIFICATION OF COUNSEL

         I, Matthew B. McGuire, counsel to FTX Trading Ltd. and its affiliated debtors and debtors-

in-possession (collectively, the “Debtors”), hereby certify as follows to the best of my knowledge,

information and belief:




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
    4063, respectively. Due to the large number of debtor entities in these Chapter 11 cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



{1368.002-W0071862.}
         1.       On July 19, 2023, Alameda Research Ltd. and FTX Trading Ltd (together, the

“Plaintiffs”) initiated the above-captioned adversary proceeding (the “Adversary Proceeding”) in

the United States Bankruptcy Court for the District of Delaware (the “Court”) by filing a complaint

[Adv. D.I. 1] (the “Complaint”) against Platform Life Sciences Inc., Lumen Bioscience, Inc.,

Greenlight Biosciences Holdings, PBC, Riboscience LLC, Genetic Networks LLC, 4J

Therapeutics Inc., Latona Biosciences Group, FTX Foundation, Samuel Bankman-Fried, Ross

Rheingans-Yoo, and Nicholas Beckstead.

         2.       On July 21, 2023, Plaintiffs served the Complaint on Defendants Lumen

Bioscience, Inc., Greenlight Biosciences Holdings, PBC, Riboscience LLC, Genetic Networks

LLC, 4J Therapeutics Inc. (collectively, the “Small Lifesciences Defendants”), Nicholas

Beckstead (“Beckstead”), FTX Foundation, Platform Life Sciences Inc., Ross Rheingans-Yoo, and

Samuel Bankman-Fried.

         3.       On August 2, 2023, Plaintiffs served the Complaint on Defendant Latona

Biosciences Group.

         4.       On August 17, 2023, Plaintiffs and Defendants Samuel Bankman-Fried, Nicholas

Beckstead, Ross Rheingans-Yoo, Latona, Greenlight Biosciences Holdings, Platform Life

Sciences Inc., Riboscience LLC, and 4J Therapeutics Inc. entered into a Stipulation for an

Extension of Time for Defendants to Respond to Complaint [Adv. D.I. 15], extending these

Defendants response deadline to September 15, 2023.

         5.       On September 6, 2023, Plaintiffs reattempted service of the Complaint on

Defendant Lumen Bioscience, Inc..

         6.       On September 7, 2023, the Clerk of the Court entered default against defendant

Genetic Networks LLC [Adv. D.I. 24], which was set aside on October 3, 2023 [Adv. D.I. 44].




{1368.002-W0071862.}                             2
         7.       On September 10, 2023, the Plaintiffs filed the Notice of Proposed Case

Management Plan and Scheduling Order [Adv. D.I. 28], setting forth a proposed case schedule

for the Adversary Proceeding.

         8.       The Plaintiffs, Beckstead, and the Small Lifesciences Defendants (collectively, the

“Parties”) have engaged in discussion to resolve Plaintiffs’ claims as to these defendants. In

connection therewith, the Parties have conferred and have agreed to stay the Adversary Proceeding

as to Beckstead and the Small Lifesciences Defendants.

         9.       The Parties’ stipulation is attached as Exhibit A to the proposed form of order

approving the stipulation, which is annexed hereto as Exhibit 1 (the “Order”).

         10.      Accordingly, the Parties respectfully request that the Bankruptcy Court enter the

Order at its earliest convenience.




{1368.002-W0071862.}                               3
Dated: October 31, 2023       LANDIS RATH & COBB LLP
       Wilmington, Delaware
                              /s/ Matthew B. McGuire
                              Adam G. Landis (No. 3407)
                              Matthew B. McGuire (No. 4366)
                              Kimberly A. Brown (No. 5138)
                              Matthew R. Pierce (No. 5946)
                              919 Market Street, Suite 1800
                              Wilmington, Delaware 19801
                              Telephone: (302) 467-4400
                              Facsimile: (302) 467-4450
                              E-mail: landis@lrclaw.com
                                      mcguire@lrclaw.com
                                      brown@lrclaw.com
                                      pierce@lrclaw.com

                              -and-

                              SULLIVAN & CROMWELL LLP
                              Steven L. Holley (admitted pro hac vice)
                              Stephanie G. Wheeler (admitted pro hac vice)
                              Brian D. Glueckstein (admitted pro hac vice)
                              Christopher J. Dunne (admitted pro hac vice)
                              Jacob M. Croke (admitted pro hac vice)
                              125 Broad Street
                              New York, NY 10004
                              Telephone: (212) 558-4000
                              holleys@sullcrom.com
                              Wheelers@sullcrom.com
                              glueckstein@sullcrom.com
                              dunnec@sullcrom.com
                              crokej@sullcrom.com

                              Counsel for the Debtors
                              and Debtors-in-Possession




{1368.002-W0071862.}          4
